       Case 1:25-cv-00596-ELH          Document 94        Filed 04/03/25      Page 1 of 5



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL EMPLOYEES,
 AFL-CIO, et al.,

                        Plaintiffs,

                            vs.
                                                          Civil Action No. 1:25-cv-00596
 SOCIAL SECURITY ADMINISTRATION,
 et al.,

                       Defendants.



    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR PROTECTIVE
                                ORDER

       On Tuesday, March 25, 2025, Defendants agreed to produce the Administrative Record in

this matter. See ECF No. 89 at 1. For a week thereafter, Defendants made no mention of a protective

order until, a scant 4 hours and 24 minutes before it was due to be filed, Defendants’ counsel sent

a 12-page proposed protective order to Plaintiffs, asking for agreement to its terms. That proposed

order is both contrary to extensive authority governing the use of protective orders under Federal

Rule of Civil Procedure 26(c) and overbroad. This Court should decline Defendants’ invitation to

enter such an order.

       A party seeking a protective order “bears the burden of establishing good cause.” Webb v.

Green Tree Servicing LLC, 283 F.R.D. 276, 278 (D. Md. 2012). “In order to establish good cause,

a proponent may not rely upon stereotyped and conclusory statements, but must present a particular

and specific demonstration of fact, as to why a protective order should issue.” Baron Financial

Corp. v. Natanzon, 240 F.R.D. 200, 202 (D. Md. 2006) (internal quotation marks and citations
        Case 1:25-cv-00596-ELH            Document 94      Filed 04/03/25     Page 2 of 5



omitted). And “protective orders should be sparingly used and cautiously granted.” Id. (internal

quotation marks and citations omitted).

       Defendants have not even attempted to meet this high bar. Despite having a full week to

identify and articulate the bases for their requested order, their motion only: (1) summarily claims

the existence of good cause; (2) states that the Administrative Record contains nonpublic

information that could allow malign actors to circumvent agency privacy controls; (3) states that

the Administrative Record contains personnel information; and (4) states that the Administrative

Record contains interagency agreements. These claims are wholly inadequate to justify a

protective order.

               Defendants do not establish good cause by simple recitation of the term. Nor do

their bare references to documents contained in the Administrative Record establish good cause.

Mere inclusion of information about agency privacy protocols, absent more, is inadequate to

suggest heightened privacy or security risk. Nor, even if such risk exists, have Defendants

attempted to show that minimal redactions would be inadequate to cure it.1 The District Court for

the District of Columbia has already rejected a government effort to seal documents similar to the

employment records the government now seeks to subject to their protective order. See AFL-CIO

v. Department of Labor, No. 1:25-cv-00339, ECF No. 59 (D.D.C., Mar. 17, 2025). Lastly,

Defendants do not even argue that the interagency agreements do contain nonpublic information,

merely that they “may,” ECF No. 84 at 2, and, in any event, the government has been ordered to




1
  Plaintiffs recognize that the Administrative Record may contain some minimal amount of
information which is appropriate for redaction. Despite Defendants’ claims that “given the short
time SSA has had to compile the Administrative Record,” redaction has been “impractical” over
the course of a week, ECF No. 84 at 2, Defendants made extensive redactions to the
Administrative Record without consulting Plaintiffs or providing a redaction log. Plaintiffs’
counsel stand ready to confer on a more ordinary course of appropriate redactions.

                                                 2
        Case 1:25-cv-00596-ELH            Document 94        Filed 04/03/25       Page 3 of 5



produce similar interagency agreements in related litigation without any protective order AFL,

1:25-cv-00339 (D.D.C.),ECF No. 44-2 at 6, 48.

        The proposed order is also overbroad, both in terms of the information it covers, and in

terms of the restrictions it would place on use of that information. It purports to encompass

information “improperly in the public domain,” ECF No. 84-1 ¶ 3(a), notwithstanding the Supreme

Court’s guidance that “a protective order prevents a party from disseminating only that information

obtained through use of the discovery process. Thus the party may disseminate the identical

information covered by the protective order as long as the information is gained through means

independent of the court’s processes,” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 34 (1984).

Defendants have articulated no basis to defy this instruction and restrict Plaintiffs’ use of

information to which Plaintiffs otherwise have access.

        And the proposed order would unduly restrict Plaintiffs’ ability to litigate this matter. The

order, as written, would not allow Plaintiffs’ counsel to consult with experts who could analyze

productions and inform Plaintiffs about technical or factual issue, see ECF No. 84-1 ¶ 35, nor

would it allow Plaintiffs’ counsel to consult with others who have expertise regarding DOGE.

Given the speed with which factual information about DOGE is emerging and the short time it has

existed, it is uniquely difficult for any one litigant or organization to have a complete picture of all

available information about its structure and operations, and consulting with others is essential to

contextualizing new information about DOGE.

        Finally, in addition to the other concerns the Court noted with the proposed order, see ECF

No. 91, this is fast-moving litigation, with multiple filings and at least one hearing in the next

week. See ECF Nos. 69, 91. Under the terms of the proposed protective order, however, once the

Defendants designate any piece of information as “confidential,” Plaintiffs could not use the




                                                   3
       Case 1:25-cv-00596-ELH          Document 94        Filed 04/03/25      Page 4 of 5



information in court proceedings for at least seven days, absent intervention by the Court. ECF

No. 84-1 ¶ 36. This would, at a minimum, hamstring Plaintiffs’ counsel at all live proceedings,

and, more broadly, would derail this litigation into a sideshow of disputes over classification of

information and constant requests for extraordinary relief from the Court.


 Dated: April 3, 2025                               Respectfully submitted,

                                                    /s/ Mark B. Samburg__________
                                                    Mark B. Samburg (Bar No. 31090)
                                                    Alethea Anne Swift (Bar No. 30829)
                                                    Emma R. Leibowitz*+
                                                    Robin F. Thurston*+
                                                    Carrie Y. Flaxman+
                                                    DEMOCRACY FORWARD FOUNDATION
                                                    P.O. Box 34553
                                                    Washington, DC 20043
                                                    (202) 448-9090
                                                    msamburg@democracyforward.org
                                                    aswift@democracyforward.org
                                                    eleibowitz@democracyforward.org
                                                    rthurston@democracyforward.org
                                                    cflaxman@democracyforward.org

                                                    Counsel for Plaintiffs

                                                    * Admission to this Court pending
                                                    + Admitted pro hac vice




                                                4
       Case 1:25-cv-00596-ELH         Document 94       Filed 04/03/25     Page 5 of 5



                              CERTIFICATE OF SERVICE

    I, Mark B. Samburg, certify that I filed the foregoing document with the Clerk of Court for

the United States District Court for the District of Maryland, Northern Division, by using the

CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case.


                                                             /s/ Mark B. Samburg
                                                             Counsel for Plaintiffs
